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                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF KENTUCKY
                                  AHLAND DIVISION

  IN RE:

  SAMUEL G. WILSON AND                                                  Chapter 13
  LIZA F. WILSON                                                        Case No. 05-10032

  DEBTORS

  BEVERLY BURDEN, TRUSTEE                                               PLAINTIFF
  For the Bankruptcy Estate of Samuel G. Wilson
  and Liza F. Wilson

  V.                                                                    Adv. No. 05-

  THE CIT GROUP/CONSUMER
  FINANCE, INC., AND SELECT
  PORTFOLIO SERVICING, INC.                                             DEFENDANTS

                         COMPLAINT WITH ATTACHED EXHIBITS

           Comes the Trustee, Beverly Burden, by counsel, and for her complaint

  respectfully alleges as follows:

                                 JURISDICTION AND VENUE

           1. This is an adversary proceeding brought pursuant to FRBP Rule 7001 of Title

  11 of the United States Code.

           2. The jurisdiction of this case is based upon 28 U.S.C. 1334 in that it arises

  under Title 11 U.S.C..

           3. This is a core proceeding under 28 U.S.C. 157.

           4. Venue for this complaint is proper pursuant to 28 U.S.C. 1409.

           5. This is an adversary complaint brought under 11 U.S.C. Sections 544, 550 and

  551.
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         6. This proceeding is related to the bankruptcy case, In Re: Samuel G. Wilson

  and Liza F. Wilson; Case No.: 05-10032, presently pending in the United States

  Bankruptcy Court for the Eastern District of Kentucky, Ashland, Kentucky.

                                            PARTIES

         7. Plaintiff Beverly Burden is the duly appointed Chapter 13 Trustee for Samuel

  G. Wilson and Liza F. Wilson who filed their bankruptcy on January 17, 2005 in the

  Eastern District of Kentucky, Ashland, Kentucky.

         8. Defendants The CIT Group/Consumer Finance, Inc. (“CIT”) and Select

  Portfolio Servicing, Inc. (“Select”) are the transferees of the subject transfer.

                                 FACTUAL ALLEGATIONS

         9. The debtors own and have titled in their name real property located at 2721

  County Road, Ashland, Kentucky.

         10. The debtors financed a loan with defendants on the real property located at

  2721 County Road, Ashland, Kentucky. (Exhibit 1).

         11. The mortgage on the subject real property contained a defective

  acknowledgment in that it did not certify that the debtors appeared before the person

  taking the acknowledgment and acknowledged that they executed the instrument or that

  the debtors were known to the person taking the acknowledgment or that the person

  taking the acknowledgment had satisfactory evidence that the debtors were the people

  described in and who executed the mortgage. (Exhibit 1).

                                            COUNT I

         12. Plaintiff incorporates all previous paragraphs.
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         13. Plaintiff as a hypothetical bona fide purchaser of real property from the

  debtors has superior title to the subject property than Defendants and any interest

  Defendants may have in the subject property is avoidable by plaintiff.

                                           COUNT II

         14. Plaintiff incorporates all previous paragraphs.

         15. Plaintiff as a hypothetical lien creditor of the debtors has superior title to the

  subject property than Defendants and any interest Defendants may have in the subject

  property is avoidable by plaintiff.

         WHEREFORE, the Plaintiff prays the Court enter a judgment in favor of the

  Plaintiff against the Defendants as follows:

         A. The Trustee’s interest in the property described above is superior to all others

  and that any interest Defendants may have in the property described above is subordinate

  to the interest of the Plaintiff on behalf of the estate and that the claims of Defendants are

  unsecured.

         B. That the unperfected lien of the Defendants be avoided and preserved for the

  benefit of the bankruptcy estate.

         C. That this Court order the Defendants to remove their mortgage from the

  subject real property and file a release in the Boyd County Clerk’s Office.

         D. That Plaintiff recover her costs, expenses, fees and be granted any other relief

  which she is entitled at law and in equity.
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                                              Atkinson, Simms & Kermode PLLC
                                              239 North Broadway
                                              Lexington, Kentucky 40507
                                              (859) 225-1745 Telephone
                                              (859) 254-2012 FAX



                                              By: /s/ J. D. Kermode___________
                                                   J. D. KERMODE
                                                  ATTORNEY FOR TRUSTEE
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                               EXHIBIT 1
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